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                                UNITED STATES DISTRICT COURT
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                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
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        ROSE GATES,                               No. CV 14-3573-DMG (JEMx)
   10
                   Plaintiff,                     ORDER RE SETTLEMENT AND
   11
                          v.                      DISMISSAL [26]
   12
        ANTELOPE VALLEY UNION HIGH
   13   SCHOOL DISTRICT, et al,
   14              Defendants.
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   17         Pursuant to the parties’ stipulation [Doc. # 26], the Court hereby accepts and
   18   approves the terms of the stipulation as the Order of the Court. Defendant, Antelope
   19   Valley Union High School District, shall pay Plaintiff the sum of five thousand
   20   dollars ($5,000) by September 15, 2014, in accordance with the terms of the parties’
   21   Settlement Agreement.
   22         The above-entitled action is hereby DISMISSED.
   23         IT IS SO ORDERED.
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        DATED: September 9, 2014
   25                                              DOLLY M. GEE
                                                   UNITED STATES DISTRICT JUDGE
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